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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Mark Fins                                                   3.82                    Other (Series Seed)
 ,




 Tech 2 Business Solutions                                   0.11                    Other (Series B-2)
 ,




 Ricardo Fernandez Gonzalez                                  0.04                    Other (Series B-2)
 ,




 Rajit Gupta                                                 0.02                    Other (Series B-2)
 ,




 Nishant Gupta                                               0.05                    Other (Series B-2)
 ,




 Kulakuku Enterprise St                                      0.01                     Other (Series B-2)
 ,
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Boonstle, Inc.                                                                  7
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Jose Maria Aguirre                                          0.02                    Other (Series B-2)
 ,




 Jeffrey Marquis                                             0.001                   Other (Series B-2)
 ,




 Francisco Rey                                               0.01                    Other (Series B-2)
 ,




 Francisco Goicoerrotea Sarri                                0.07                    Other (Series B-2)
 ,




 Dragonaria St                                               0.001                   Other (Series B-2)
 ,




 Douglas Marquis                                             0.03                     Other (Series B-2)
 ,
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Boonstle, Inc.                                                                  7
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Diego Narvaez Vega de Seoana                                0.01                    Other (Series B-2)
 ,




 Christina Garay                                             0.02                    Other (Series B-2)
 ,




 Brian and Edna McTernan                                     0.03                    Other (Series B-2)
 ,




 Antonio Baselga de la Vega                                  0.01                    Other (Series B-2)
 ,




 Ricardo Fernandez Gonzalez                                  1.00                    Other (Series B-2)
 ,




 Rajit Gupta                                                 0.15                     Other (Series B-2)
 ,
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Boonstle, Inc.                                                                  7
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Pallav Gupta                                                0.13                    Other (Series B-2)
 ,




 Nishant Gupta                                               1.41                    Other (Series B-2)
 ,




 Kulakuku Enterprise St                                      0.30                    Other (Series B-2)
 ,




 Jose Maria Aguirre                                          0.62                    Other (Series B-2)
 ,




 Jeffrey Marquis                                             0.25                    Other (Series B-2)
 ,




 Francisco Rey                                               0.25                     Other (Series B-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Francisco Goicoerrotea Sarri                                1.75                    Other (Series B-2)
 ,




 Eco E                                                       14.03                   Other (Series B-2)
 ,




 Dragonaria St                                               0.12                    Other (Series B-2)
 ,




 Douglas Marquis                                             0.25                    Other (Series B-2)
 ,




 Diego Narvaez Vega de Seoane                                0.30                    Other (Series B-2)
 ,




 Christina Garay                                             0.50                     Other (Series B-2)
 ,
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                                   LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Brian and Edna McTernan                                     0.25                    Other (Series B-2)
 ,




 Antonio Baselga de la Vega                                  0.25                    Other (Series B-2)
 ,




 Amit Gupta                                                  3.98                    Other (Series B-2)
 ,




 RBC Capital Markets Cust fbo Robert J. Foerster             0.03                    Other (Series A-1)
 ,




 Lucius E. Reese Revocable Trust                             0.32                    Other (Series A-1)
 ,




 Dragonaria St.                                              0.29                     Other (Series A-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Sanjay and Manisha Jain                                     0.14                    Other (Series A-2)
 ,




 Jonathan and Marilyn Chandler                               0.07                    Other (Series A-2)
 ,




 Dan Jones                                                   0.12                    Other (Series A-2)
 ,




 Bill Herr                                                   0.36                    Other (Series A-2)
 ,




 Vikas Jhurana                                               0.07                    Other (Series B-1)
 ,




 Tim Routhieaux                                              0.14                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Susan Kuntz                                                 0.10                    Other (Series B-1)
 ,




 Scott James                                                 0.07                    Other (Series B-1)
 ,




 Riverplate Foundation                                       0.34                    Other (Series B-1)
 ,




 Ricardo Fernandez Gonzalez                                  0.68                    Other (Series B-1)
 ,




 Rajit Gupta                                                 0.27                    Other (Series B-1)
 ,




 One Way Ventures Fund LLP                                   0.16                     Other (Series B-1)
 ,
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                                   LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Olive Day Reese 2017 Trust                                  0.20                    Other (Series B-1)
 ,




 Nishant Gupta                                               0.25                    Other (Series B-1)
 ,




 Negocios Familiares Reunidos S.L.                           0.14                    Other (Series B-1)
 ,




 Mark L. Fins Revocable Trust                                7.86                    Other (Series B-1)
 ,




 Madeline A. Reese 2017 Trust                                0.20                    Other (Series B-1)
 ,




 Lucius E. Reese Revocable Trust                             0.27                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Lidia Mallo Rolla                                           0.27                    Other (Series B-1)
 ,




 Lawrence Smith                                              0.07                    Other (Series B-1)
 ,




 Kulakuku Enterprise St                                      0.14                    Other (Series B-1)
 ,




 Kalyanaraman Venkataramani                                  0.14                    Other (Series B-1)
 ,




 Jose Maria Aguirre                                          0.55                    Other (Series B-1)
 ,




 Graymatter Capital LLC                                      1.37                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 George Miller                                               0.07                    Other (Series B-1)
 ,




 Gavin Smith                                                 0.34                    Other (Series B-1)
 ,




 Fundacion Panama2070                                        0.68                    Other (Series B-1)
 ,




 Francisco Rey                                               0.68                    Other (Series B-1)
 ,




 Francisco Goiccoerrotea Sarri                               0.48                    Other (Series B-1)
 ,




 Eric Metz                                                   0.07                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Dragoneria St                                               0.27                    Other (Series B-1)
 ,




 Doug Marquis                                                0.19                    Other (Series B-1)
 ,




 Diego Narvaez Vega de Seoane                                0.27                    Other (Series B-1)
 ,




 Chirstina Garay                                             0.55                    Other (Series B-1)
 ,




 Cheryl Stathakis 1999 Revocable Trust                       0.51                    Other (Series B-1)
 ,




 Charles Evan                                                0.14                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Bob Costas                                                  0.68                    Other (Series B-1)
 ,




 Ashok T. Khubchandani                                       0.12                    Other (Series B-1)
 ,




 Antonio Baselga de la Vega                                  0.48                    Other (Series B-1)
 ,




 Ajay J. Patel                                               0.12                    Other
 ,




 Abdur Nemeri                                                0.34                    Other (Series B-1)
 ,




 Aaron and Michelle Turner                                   0.14                     Other (Series B-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Todd and Karyn Bundrant Family Trust                        0.08                    Other (Series A-1)
 ,




 Sanjay Tulsiani                                             0.08                    Other (Series A-1)
 ,




 Roberto Diaz Rincon Cohen                                   0.16                    Other (Series A-1)
 ,




 Riverplate Foundation                                       0.40                    Other (Series A-1)
 ,




 RBC Capital Markets Cust fbo Robert J. Foester              0.05                    Other (Series A-1)
 ,




 Paul Peterson                                               0.08                     Other (Series A-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Olivia Day Reese 2017 Trust                                 0.24                    Other (Series A-1)
 ,




 Negocios Familiares Reunidos S.L.                           0.16                    Other (Series A-1)
 ,




 N Shaw LLC                                                  0.07                    Other (Series A-1)
 ,




 Michael Berkowitz                                           0.08                    Other (Series A-1)
 ,




 Matthew Marquis                                             0.13                    Other (Series A-1)
 ,




 Madeline A. Reese 2017 Trust                                0.24                     Other (Series A-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Lidia Mallo Rolla                                           0.40                    Other (Series A-1)
 ,




 Lawrence Smith                                              0.08                    Other (Series A-1)
 ,




 Jose Maria Aguirre                                          0.23                    Other (Series A-1)
 ,




 Jack Zamora                                                 0.80                    Other (Series A-1)
 ,




 Fundacion Panama 2070                                       0.40                    Other (Series A-1)
 ,




 Francisco Rey                                               0.16                     Other (Series A-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Francisco Goicoerrotea Sarri                                1.12                    Other (Series A-1)
 ,




 Christina Garay                                             0.16                    Other (Series A-1)
 ,




 Bruce P. Shaw Trust                                         0.07                    Other (Series A-1)
 ,




 Antonio Baselga de la Vega                                  0.48                    Other (Series A-1)
 ,




 Amy Wickstrom                                               0.08                    Other (Series A-1)
 ,




 Adam Salomone                                               0.02                     Other (Series A-1)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 William Madden                                              0.07                    Other (Series A-2)
 ,




 Vikas Sood                                                  0.07                    Other (Series A-2)
 ,




 Vikas Khurana                                               0.12                    Other (Series A-2)
 ,




 Todd and Karen Bundrant                                     0.12                    Other (Series A-2)
 ,




 Tim Yun                                                     0.02                    Other (Series A-2)
 ,




 Tim Routheaux                                               0.12                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Susan Kuntz                                                 0.12                    Other (Series A-2)
 ,




 Stephen A. McDonnell                                        0.07                    Other (Series A-2)
 ,




 Sonu Kaira                                                  0.27                    Other (Series A-2)
 ,




 Shivan Shah                                                 0.23                    Other (Series A-2)
 ,




 Scott Janess                                                0.12                    Other (Series A-2)
 ,




 Saurabh Mahajan                                             0.14                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Sanjay Tulsiani                                             0.28                    Other (Series A-2)
 ,




 Rick and Tony Fentin                                        0.01                    Other (Series A-2)
 ,




 Richard Lane                                                0.16                    Other (Series A-2)
 ,




 Richard and Anne Issenberg                                  0.07                    Other (Series A-2)
 ,




 Rajit Gupta                                                 0.18                    Other (Series A-2)
 ,




 Rafael Rupo and Karen Wiss                                  0.07                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Paul and Teresa Lessin                                      0.07                    Other (Series A-2)
 ,




 Patrick Galley                                              0.49                    Other (Series A-2)
 ,




 Pallav Gupta                                                0.07                    Other (Series A-2)
 ,




 One Way Ventures Fund, LLP                                  0.11                    Other (Series A-2)
 ,




 Nishant Gupta                                               0.30                    Other (Series A-2)
 ,




 Neal Grace                                                  0.01                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Nand Sharma                                                 0.06                    Other (Series A-2)
 ,




 Monika and Akshay Jain                                      0.14                    Other (Series A-2)
 ,




 Matthew Marquis                                             0.28                    Other (Series A-2)
 ,




 Mark Fine                                                   1.55                    Other (Series A-2)
 ,




 Lesley Markman                                              0.04                    Other (Series A-2)
 ,




 Katherine Gabelman                                          0.12                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Kalvanaraman Venkataramani                                  0.07                    Other (Series A-2)
 ,




 Julie Fins                                                  0.02                    Other (Series A-2)
 ,




 Jose Maria Aguirre                                          0.24                    Other (Series A-2)
 ,




 Jordan Carter                                               0.03                    Other (Series A-2)
 ,




 John Ruth                                                   0.50                    Other (Series A-2)
 ,




 John Larkin                                                 0.07                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Joanna Chodes                                               0.03                    Other (Series A-2)
 ,




 Jafar Rizvl                                                 0.05                    Other (Series A-2)
 ,




 Ira Bromberg                                                0.05                    Other (Series A-2)
 ,




 Gul Moonis                                                  0.14                    Other (Series A-2)
 ,




 Greg Dennerlein                                             0.12                    Other (Series A-2)
 ,




 Graymatter Capital LLC                                      0.99                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 George Miller                                               0.12                    Other (Series A-2)
 ,




 Eric Metz                                                   0.12                    Other (Series A-2)
 ,




 Eddie Shagas                                                0.06                    Other (Series A-2)
 ,




 Dragonaria St.                                              0.24                    Other (Series A-2)
 ,




 Dr. James Wilcox                                            0.12                    Other (Series A-2)
 ,




 Dr. Daniel Perlman                                          0.07                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Doug Marquis                                                0.24                    Other (Series A-2)
 ,




 David Stern                                                 0.07                    Other (Series A-2)
 ,




 David and Heather Vigorito                                  0.01                    Other (Series A-2)
 ,




 Christina Garay                                             0.24                    Other (Series A-2)
 ,




 Cheryl Stathakis 1999 Revocable Trust                       0.61                    Other (Series A-2)
 ,




 Charles Evan                                                0.13                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Bruce Mathias                                               0.07                    Other (Series A-2)
 ,




 Brian and Edna McTernan                                     0.49                    Other (Series A-2)
 ,




 Bonnie Stoddard                                             0.07                    Other (Series A-2)
 ,




 Barry and Jo-anne Harris Nyer                               0.06                    Other (Series A-2)
 ,




 Ashok T. Khubchandani                                       0.14                    Other (Series A-2)
 ,




 Aron Glassman                                               0.07                     Other (Series A-2)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Arlene Issenberg                                            0.07                    Common stockholder
 ,




 Ankit Kesarwani                                             0.14                    Other (Series A-2)
 ,




 Anamika Bhondele                                            0.12                    Other (Series A-2)
 ,




 Ajay J. Patel                                               0.14                    Other (Series A-2)
 ,




 Aaron & Michelle Turner                                     0.12                    Other (Series A-2)
 ,




 Raj Ravani                                                  1.48                     Other (Pre Series A)
 ,
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                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Robert Cahill                                               1.18                    Other (Pre Series A)
 ,




 Sam Simmons                                                 1.78                    Other (Pre Series A)
 ,




 Robert D. Cohan                                             2.49                    Preferred stockholder
 ,




 David Hartstein                                             3.73                    Other (Pre Series A)
 ,




 Abdur Nimeri                                                0.34
 ,




 Amit Gupta                                                  22.64                    Other (Pre Series A)
 28 9th Street Apartment 802, Medford, MA 02155
